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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                      §
U.S. COMMODITY FUTURES TRADING                        §
COMMISSION, et al.                                    §
                                                      §
                       Plaintiffs,                    §
                                                      §                CIVIL ACTION NO.
v.                                                    §                  3 :20-CV-2910-L
                                                      §
TMTE, INC. a/k/a METALS.COM, CHASE                    §
METALS, INC., CHASE METALS, LLC,                      §
BARRICK CAPITAL, INC., LUCAS THOMAS                   §
ERB a/k/a LUCAS ASHER a/k/a LUKE ASHER,               §
and SIMON BATASHVILI,                                 §
                                                      §
                                                      §
                      Defendants,
                                                      §
                                                      §
TOWER EQUITY, LLC,
                                                      §
                                                      §
                      Relief Defendant.
                                                      §


                     RECEIVER'S NOTICE OF INTENDED SALE OF
                         AUTOMOBILES BY PRIVATE SALE


        In accordance with the Consent Order Governing the Administration of the Receivership,

Procedures Governing the Sale or Abandonment of Personal Property, Notice of Intended Sale,

Disposition of Various Items and Fee Application Procedures (the "Order") entered on December

9, 2020 [Docket No. 213], the Receiver Kelly Crawford hereby gives notice of the intended private

sale of two automobiles, as set forth herein.

        1.     The Order authorizes the Receiver to sell certain property by private sale, provided

that notice of the terms of the proposed sale are filed with the Court at least seven days before

transferring title or possession of the property. Order,   ~1 c.   If during this seven day period the


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Receiver does not obtain bids exceeding 10% of the proposed sale price, the Receiver can proceed

with the sale.

        2.         The Receiver took possession of a 2016 Mercedes -Benz 063 described on Exhibit

A attached hereto (the "Mercedes"), and a 2020 Ford Mustang described on Exhibit B attached

hereto (the "Mustang").

        3.         The Receiver retained Mountain Motors of Santa Clarita, California 91321 to

market and sell the Mercedes and Mustang. Mountain Motors charges a commission of 15% of

the sales price.

                                              SALE OF THE MERCEDES

        4.         Mountain Motors inspected the Mercedes and determined that the Mercedes needs

repairs estimated at $9,020 1• See Exhibit A. The Kelley Blue Book value of the Mercedes is

$80,724. Mountain Motors solicited bids from North Hollywood Toyota, Jonathan Genish, K&J

Auto Exchange, National Fleet Wholesale, Ernesto Garnica, Wheels Unlimited, William Landrum,

and Brant Bostor to purchase the Mercedes.

        5.         K&J Auto Exchange 84883, 8048 Haskell Avenue, Van Nuys, California 91406

("K&J Auto Exchange") offered to purchase the Mercedes for $75,000. This offer was the highest

offer received by the Receiver, and the Receiver determined that accepting the offer from this

purchaser would be in the best interest of the receivership. The purchaser has no relationship to

any of the parties, the Receiver, attorneys, or investors in this case. Based on the foregoing, in

seven days, provided an offer exceeding the offer of $75,000 by 10% is not received by the

Receiver, the Receiver intends to sell the Mercedes to K&J Auto Exchange on an "As-Is" basis

for $75,000. From this amount, the Receiver will pay the lien on the Mercedes held by Lentegrity


1 Mountain   Motors also obtained the fog permit for the Mercedes as required in order to transfer title.

                                                            2
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in the amount of $50,737.58 2, resulting in a net of $24,262.42 to the receivership. From this net

to the receivership, the Receiver will pay Mountain Motors a commission of 15% or $3,639. The

receivership will realize $20,623.42 from the sale of the Mercedes.

                                             6.       SALE OF THE MUSTANG

           7.        Mountain Motors inspected the Mustang and determined that it needs repairs

estimated at $1,270, as shown on Exhibit B. The Kelley Blue Book value of the Mustang is

$83,072. Mountain Motors solicited bids from North Hollywood Toyota, Jonathan Genish, K&J

Auto Exchange, National Fleet Wholesale, Ernesto Garnica, Wheels Unlimited, William Landrum,

and Brant Bostor to purchase the Mustang.

           8.        National Fleet Wholesale 52932, 22311 Ventura Blvd., Suite 122, Woodland Hills,

California 91364 offered to purchase the Mustang for $72,500. This offer was the highest offer

received by the Receiver, and the Receiver determined that accepting the offer from this purchaser

would be in the best interest of the receivership. The purchaser has no relationship to any of the

parties, the Receiver, attorneys, or investors in this case. Based on the foregoing, in seven days,

provided an offer exceeding the offer of $72,500 by 10% is not received by the Receiver, the

Receiver intends to sell the Mustang to National Fleet Wholesale on an "As-Is" basis for $72,500.

From this amount, the Receiver will pay Mountain Motors a 15% commission of $10,875, resulting

in a net payment to the receivership of $61,625. The Mustang is owned free and clear ofliens so

the receivership will realize $61,625 from the sale of the Mustang.

           9.        This notice of the intended sale of the Automobiles has also been posted on the

website maintained by the Receiver at www.metalsandbarrickcapitalreceivership.com.




2   Interest will continue to accrue on the loan and increase the payoff figure until the car is sold and the lien is paid.

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                                                     Respectfully submitted
                                                     SCHEEF & STONE, L.L.P.
                                                     Isl Peter Lewis
                                                     Peter Lewis
                                                     Texas State Bar No. 12302100

                                                     500 N. Akard Street, Suite 2700
                                                     Dallas, Texas 75201
                                                     Telephone: 214.706.4200
                                                     Telecopier: 214. 706.4242

                                                     ATTORNEYS FOR RECEIVER
                                                     KELLY M. CRAWFORD


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 12, 2021 I electronically filed the
foregoing document with the clerk of the U.S. District Court, Northern District of Texas, using the
electronic case filing system of the court, and the electronic case filing system sent a "Notice of
Electronic Filing" to the attorneys of record.

                                                     Isl Kelly Crawford
                                                     Kelly Crawford




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                                                                                                  24116 Newhall Ave
                                                                                                 Santa Clarita, Ca 91321
                                                                                                    1-661-288-2277


INSPECTION REPORT                     Member Name: 252454                      Account#:252454                    NOi: 12/23/2020



2016 MERCEDES-BENZ G63               STOCK#: 2454                 COLOR: FLAT BLACK          INTERIOR: BLACK                ODO: 25693
                                                                  (WRAP)
VIN: WDCYC7DF7GX252454               LIC: R883FO                                                                            #OF KEYS: 1
                                                                  STATE: CA

VEHICLE EQUIPMENT


                                                                                                 ~·                   ·~
       ABS (4-Wheel):    0                                     Leather:    0
     Air Conditioning:   0                                 Moon-Roof:      0
       AM/FM Stereo:     0                           Navigation System:    0
   Anti-Theft System:    0              Oversized Premium Wheels 20"+:     0
    Backup Camera:       0                           Power Door Locks:     0
  Bluetooth Wireless:    0                              Power Steering:    0
 CD/MP3 {Multi Disc):    0                             Power Windows:      0
       Cruise Control:   0                                   Tilt Wheel:   0
   Dual Power Seats:     0                                 Towing Pkg:     0
              Engine:    VB, TWIN TURBO, 5.5 LITER     Traction Control:   0
        Heated Seats:    0                               Transmission:     Automatl
                                                                                         0                                           0
        Keyless Entry:   0

DESCRIPTION OF RECON
DETAIL                          $150.00
DING REMOVAL                    $75.00
TOUCH UP                        $45.00
4 TIRES                         $1250.00
REMOVE WRAP                     $1000.00
WHEEL AND TIRE {SPARE)          $1500.00
SPARE COVER
                                $5000.00
{FIBERGLASS)
Total Estimate of Repairs
$9,020.00
ANNOUNCEMENTS                                                                                    f::<I
                                                                                                 \g_                  ·~
OBDll                                                                                            [] ORIGINAL
 ALL MONITORS CLEAR                                                                                 PRIOR PAINT
                                                                                                 •  GOOD
                                                                                                 •  REPAIR I REPLACE
KBB VALUE $80,724            BLACKBOOK VALUE $82,800

BIDS                                                                                               CONDITION OF TIRES

                                                                                                         Tire 1   Replace
                                                                                                         Tire 2   Replace
                                                                                                         Tire 3   Replace
                                                                                                         Tire 4   Replace




                                                                                                                              EXHIBIT

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                                                                                                        Page  6 ofNewhall Ave 3124
                                                                                                                   6 PageID
                                                                                                        Santa Clarita, Ca 91321
                                                                                                            1-661-288-2277


INSPECTION REPORT                           Member Name: 501267                  Account#:501267                 NOi: 12/22/2020



2020 FORD MUSTANG                         STOCK #: 1267                 COLOR: BLACK         INTERIOR: BLACK              ODO: 1808

VIN: 1FA6P8SJ2L5501267                    LIC: NIA                      STATE:               EXP: May 2021                #OF KEYS: 2

VEHICLE EQUIPMENT


                                                                                                   \tE·                   I ~1
           ABS (4-Wheel):     0                   Keyless Entry:   0
          Air Conditioning:   0                        Leather:    0                                                         I
           AM/FM Stereo:      0              Navigation System:    0
     Anti-Theft System:       0              Power Door Locks:     0
          Backup Camera:      0                 Power Steering:    0
    Bluetooth Wireless:       0                Power Windows:      0
 CD/MP3 (Single Disc):        0                Premium Wheels:     0
           Cruise Control:    0                    Rear Spoiler:   0
     Dual Power Seats:        0                      Tiit Wheel:   0
                   Engine:    VB, SUPERCHAROOlil;tlilft Ctrrll~I: 0

            Heated Seats:     0                   Transmission:    Automatic


DESCRIPTION OF RECON
DETAIL               $150.00
DING REMOVAL $75.00
TOUCH UP             $45.00
2 tires              $1000.00
Total Estimate of Repairs
$1,270.00
ANNOUNCEMENTS




                                                                                                                    .32)
OBDll




KBB VALUE $83,072                 BLACKBOOK VALUE $80,650

BIDS
                                                                                                   LJ   ORIGINAL
                                                                                                        PRIOR PAINT
                                                                                                   •    GOOD
                                                                                                   •    REPAIR I REPLACE


                                                                                                       CONDITION OF TIRES

                                                                                                            Tire 1 Good
                                                                                                            Tire 2 Good
                                                                                                            Tire 3 Good
                                                                                                            Tire 4 Good
